

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 229-08






FRANK HERRERA Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SEVENTH COURT OF APPEALS


 POTTER COUNTY





		Per curiam.  Keasler, and Hervey, J.J., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3 (b)
and 68.4(i) because the original petition is not accompanied by 11 copies and it does not
contain a copy of the opinion of the court of appeals. 

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered June 11, 2008

Do Not Publish.



